Case 2:22-cv-12951-MAG-JJCG ECF No. 48, PageID.755 Filed 05/03/23 Page 1 of 3




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
JILL BABCOCK, et al.,                           Case No. 22-cv-12951
                                                Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

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 (517) 292-0067                               Attorneys for Defendant, Wayne County
 elizabeth@abdnour.com
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______________________________________________________________________________


                     APPEARANCE OF SHARON S. ALMONRODE

       PLEASE TAKE NOTICE that Sharon S. Almonrode of The Miller Law Firm, P.C. hereby

enters her Appearance on behalf of Defendant, Wayne County, in the above-captioned matter.

Please serve all notices, copies of pleadings, papers and other relevant materials upon the

undersigned.
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                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/ Sharon S. Almonrode
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                                               Attorneys for Defendant, Wayne
                                               County
Dated: May 3, 2023




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                          STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
JILL BABCOCK, et al.,                               Case No. 22-cv-12951
                                                    Hon. Mark A. Goldsmith
       Plaintiffs,

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                                    PROOF OF SERVICE

       Sharon S. Almonrode certifies that on May 3, 2023, she caused to be served Notice of

Appearance of E. Powell Miller and this Proof of Service upon all counsel of record via electronic

filing system.

                                                            /s/ Sharon S. Almonrode
                                                            Sharon S. Almonrode
Dated: May 3, 2023
